Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 1 of 48 PageID: 4237



 ‘

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

                                            )
     Commodity Futures Trading              )
     Commission,                            )   Civil Action No. 1:23-cv-11808
                      Plaintiff,            )
                 v.                         )   District Judge Edward S. Kiel
                                            )
     Traders Global Group, Inc., a New      )   Mag. Judge Elizabeth A. Pascal
     Jersey corporation d/b/a “My Forex     )
     Funds”; Traders Group Global Inc., a   )
     Canadian business organization; and    )
     Murtuza Kazmi                          )
                         Defendants.        )
                                            )

        PLAINTIFF COMMODITY FUTURES TRADING COMMISSION’S
                    OPPOSITION TO DEFENDANTS’
                 MOTION TO DISMISS THE COMPLAINT
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 2 of 48 PageID: 4238




                                             TABLE OF CONTENTS


 I.         INTRODUCTION ...........................................................................................1

 II.        RELEVANT FACTUAL BACKGROUND ...................................................4

 III.       ARGUMENT .................................................................................................10
        A. The Court Must Evaluate the Complaint in the Light Most Favorable to the
           CFTC .............................................................................................................10

        B. The Complaint Sufficiently Alleges That the Transactions Involved Were
           Leveraged Retail Forex and Commodity Transactions .................................12
            i.    The Genesis of CFTC Jurisdiction over Off-Exchange Leveraged Retail
                  Forex and Commodity Transactions Supports the Theory of the
                  Complaint ................................................................................................12

            ii. Customers’ Transactions Were Forex and Commodity Transactions as
                Defined by the CEA. ...............................................................................16
            iii. Defendants’ Trading Platform Did Not Function As a “Paper-Trading”
                 Educational Tool. ....................................................................................20

        C. Defendants Were The Counterparty to Their Customers’ Trades.................22
        D. The Complaint Plausibly Alleges the “In Connection” Element of Count I
           and II’s Fraud Claims ....................................................................................25

        E. The CFTC has Adequately Pled the Elements of its Fraud Claims ..............31
            i.    The CFTC Has Adequately Pled Materiality ..........................................32
            ii. The CFTC Has Adequately Pled Scienter...............................................39

  IV.       CONCLUSION..............................................................................................40




                                                                ii
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 3 of 48 PageID: 4239




                                           TABLE OF AUTHORITIES

 Cases
 Ashcroft v. Iqbal, 556 U.S. 662, (2009) ...................................................................10

 Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) .............................................11

 CFTC v. Arista LLC, No. 12 CV 9043 PAE, 2013 WL 6978529 (S.D.N.Y. Dec. 3,
  2013) .....................................................................................................................36

 CFTC v. Baragosh, 278 F.3d 319 (4th Cir. 2002) ...................................................13

 CFTC v. Brockbank, No. 2:00-cv-622 TS, 2006 WL 223835 (D. Utah. Jan. 30,
  2006) .....................................................................................................................30
  CFTC v. Capitalstreet Fin., LLC, No. 3:09-cv-387-RJC, 2012 WL 79758
   (W.D.N.C. Jan. 11,2012) ......................................................................................31
  CFTC v. Choi, No. CV 18-3991-DMG, 2019 WL 1250576 (C.D. Cal. Mar. 5,
   2019) .....................................................................................................................31

  CFTC v. Clothier, 788 F. Supp. 490 (D. Kan. 1992)...............................................31

  CFTC v. Gorman, No. 21 civ. 870 (VM), 2023 WL 2632111 (S.D.N.Y. Mar. 24,
   2023) .................................................................................................................... 37

  CFTC v. JBW Capital, LLC, 812 F.3d 98 (1st Cir. 2016) .......................................30
  CFTC v. Monex Credit Co., 931 F.3d 966 (9th Cir. 2019)......................................35

  CFTC v. Paragon FX Enter., LLC, Nos. 11 Civ. 7740(FM), 11 Civ. 7741(FM),
   2015 WL2250390 (S.D.N.Y. Feb. 2, 2015)..........................................................13

  CFTC v. Ramirez, No. 4:19-cv-140, 2019 WL 4198857 (S.D. Tex. July 12, 2019)
   ...............................................................................................................................31
  CFTC v. Regan, No. 11-cv-8679, 2012 WL 2308368 (N.D. Ill. May 29, 2012) ....29

  CFTC v. Rosenberg, 85 F. Supp. 2d 424 (D.N.J. 2000). .................................. 32, 36
  CFTC v. Smith, No. 1:10CV9, 2012 WL 1642200 (W.D. Va. Apr. 16, 2012) .......31



                                                                 iii
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 4 of 48 PageID: 4240




 CFTC v. Sw. Servs., L.L.C., No. 1:20-CV-1440-WCG, 2020 WL 8812868
  (E.D. Wis. Dec. 17, 2020).....................................................................................38

 CFTC v. Tallinex, No. 2:17-CV-00483-DN, 2018 WL 3350347 (D. Utah July 9,
  2018) .....................................................................................................................38

 CFTC v. Vartuli, 228 F.3d 94 (2d Cir. 2000) ................................................... 28, 29

 CFTC v. Weinberg, 287 F. Supp. 2d 1100 (C.D. Cal. 2003) ...................................30
 CFTC v. WorldWideMarkets, Ltd., 2022 WL 3535993 (D.N.J. Aug. 18, 2022).....35

 CFTC v. Zelener, 373 F.3d 861(7th Cir. 2004) .......................................................14
 Chadbourne & Parke LLP v. Troice, 571 U.S. 377 (2014). ....................................26
 Crummere v. Smith Barney, 624 F. Supp. 751 (S.D.N.Y. 1985). ..................... 26, 27

 Fenico v. City of Philadelphia, 70 F.4th 151 (3d Cir. 2023) ...................................10
 Fowler v. UPMC Shadyside, 578 F.3d 203 (3d Cir. 2009) .....................................11

 In re Adams Golf, Inc. Sec. Litig., 381 F.3d 267 (3d Cir. 2004) .............................32
 In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410 (3d Cir. 1997)........ 37, 38
 In re Suprema Specialties, Inc. Sec. Litig., 438 F.3d 256 (3d Cir. 2006) ................11
 Logan v. Bd. of Ed. of Sch. Dist. of Pittsburgh, 742 F. App’x 628 (3d Cir. 2018) .23

 Lutz v. Portfolio Recovery Assocs., LLC, 49 F.4th 323 (3d Cir. 2022) ...................40

 Maio v. Aetna, Inc., 221 F.3d 472 (3d Cir. 2000) ....................................................10
 Morano v. BMW of N. America, LLC, 928 F. Supp. 2d 826 (D.N.J. 2013) ............11

  R&W Tech. Servs. Ltd. v. CFTC, 205 F.3d 165 (5th Cir. 2000) ..............................29

  Saxe v. E.F. Hutton & Co., 789 F.2d 105 (2d Cir. 1986) ................................. 28, 30
  Schmidt v. Skolas, 770 F.3d 241 (3d Cir. 2014) ......................................... 18, 20, 23

 SEC v. Gu, No. 21-17578, 2022 WL 2753478 (D.N.J. July 13, 2022) ..................11

  Shapiro v. UJB Fin. Corp., 964 F.2d 272 (3d Cir. 1992) ........................................11

                                                              iv
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 5 of 48 PageID: 4241




 Tatum v. Legg Mason Wood Walker, Inc., 83 F.3d 121 (5th Cir. 1996) .......... 26, 27

 Thompson v. Real Estate Mrtg. Network, 748 F.3d 142 (3d Cir. 2014) ........... 10, 11
 United States v. Litvak, 889 F.3d 56 (2d Cir. 2018) ................................................35

 Statutes

 7 U.S.C. § 2(c)(2)(B)(v) ...........................................................................................14

 7 U.S.C. § 2(c)(2)(C) ...............................................................................................13

 7 U.S.C. § 2(c)(2)(C)(iii)(I)(aa) ...............................................................................22
 7 U.S.C. § 2(c)(2)(C)(ii)(III) ....................................................................................14

 7 U.S.C. § 6(a) .................................................................................................. 16, 22
 7 U.S.C. § 6b ..................................................................................................... 13, 28

 7 U.S.C. § 6b(a)(2) ...................................................................................................16
 7 U.S.C. § 6b(a)(2)(A) .............................................................................................13
 7 U.S.C. § 6b(a)(2)(C) .............................................................................................13

 7 U.S.C. § 6b(b) .......................................................................................................36
 7 U.S.C. § 9(c)(2) .....................................................................................................36
 7 U.S.C. § 21 ............................................................................................................19

 Regulations
 17 C.F.R. § 5 (2023) ................................................................................................15

 17 C.F.R. § 5.1(h)(1) (2023) ............................................................................. 15, 22

 17 C.F.R. § 5.1(m) (2023)................................................................................. 15, 27
 17 C.F.R. § 5.2(b) (2023) .........................................................................................15
 17 C.F.R. § 5.2(b)(1) (2023) ....................................................................................12

 17 C.F.R. § 5.2(b)(3) (2023) ....................................................................................12

                                                              v
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 6 of 48 PageID: 4242




 17 C.F.R. § 5.3(a)(6)(i) (2023) ......................................................................... 15, 22

 17 C.F.R. § 5.3(a)(6)(ii) (2023) ...............................................................................21
 17 C.F.R. § 5.5(b)(2) (2023) ............................................................................. 17, 33

 17 C.F.R. § 5.5(b)(4) (2023) ............................................................................. 18, 33

 17 C.F.R. § 5.18(b)(3) (2023) ..................................................................................34
 17 C.F.R. § 5.18(b)(4)(iv) (2023) ........................................................................... 34

 Rules
 Fed. R. Civ. P. 12(b)(6)......................................................................... 10, 11, 20, 23
 Fed. R. Civ. P. 9(b) ..................................................................................... 11, 32, 40
 NFA Rule 2-36(p) ....................................................................................................34

 NFA Rule 2-36(p)(1)(ii) ................................................................................... 20, 34

 NFA Rule 2-36(p)(1)(iii) .........................................................................................34
 NFA Rule 2-36(s)(5) ................................................................................................20

 NFA Rule 2-43 .........................................................................................................34


 Other Authorities

 CFTC Staff Letter 04-03 [Re: National Futures Association Forex Rules], 2003
  WL 27291721 (Dec. 23, 2003) .............................................................................19

 75 Fed. Reg. 3,282 (Jan. 20, 2010) ..........................................................................14

 75 Fed. Reg. 55,410 (Sept. 10, 2010) ......................................................................15

 NFA Manual Compliance Interpretive Notice 9053; CFTC Staff Letter 04-03 .....19




                                                            vi
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 7 of 48 PageID: 4243




 I.    INTRODUCTION
       Since at least November 2021, Defendant Murtuza Kazmi and his companies,

 Defendants Traders Global Group Inc., a New Jersey corporation, and Traders

 Global Inc, a Canadian business organization (together, “Traders Global”), operated

 a business called My Forex Funds. Defendants’ value proposition to the general

 public was clearly set out on the myforexfunds.com website: for a fee, customers

 would purportedly get the opportunity to become “professional traders” for Traders

 Global, using Traders Global’s money to trade leveraged forex and commodity

 contracts against third-party liquidity providers and splitting the profits. Traders

 Global’s solicitation proved highly successful, enticing at least 135,000 customers

 who paid at least $310 million in fees to Traders Global.

       Unfortunately for its customers, Traders Global’s business was a fraud.

 Contrary to Traders Global’s representations, Traders Global was nothing more than

 an unauthorized bucket shop, which internalized customers’ trades on a trading

 platform that it controlled and secretly manipulated to hinder customers’ trading

 success. There is no reason to believe that thousands of customers would have

 forked over millions of dollars in fees had Traders Global disclosed the truth—i.e.,

 that its customers would be on a rigged trading platform where the promised reward

 of trading against third parties was a lie. Meanwhile, Traders Global’s business




                                          1
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 8 of 48 PageID: 4244




 model was designed to avoid regulation and all of the CFTC retail customer

 protection rules for trading forex.

          On August 28, 2023, the CFTC filed charges under the Commodity Exchange

 Act, as amended (“CEA”), 7 U.S.C. §§ 1-26, and Commission Regulations

 (“Regulations”), 17 C.F.R. §§ 1-190 (2023), against Defendants for fraud in

 connection with leveraged retail forex and off-exchange retail commodity

 transactions (Counts I and II), acting as an unregistered Retail Foreign Exchange

 Dealer (“RFED”) and Associated Person (“AP”) of an RFED (Counts III and IV),

 and dealing in illegal, off-exchange retail commodity transactions (Count V).

 Complaint, CFTC v. Traders Global Group Inc., No. 1:23-cv-11808-ESK-EAP

 (D.N.J. filed Aug. 28, 2023) (ECF No. 1. (hereinafter “Complaint” or “Compl.”).)

          In addition to filing its Complaint, the CFTC also moved for an ex parte

 statutory restraining order and sought a preliminary injunction. (See Id., ECF Nos.

 1, 7.) On November 14, 2023, after a contested evidentiary hearing, the Court

 granted in part and denied in part the CFTC’s motion for a preliminary injunction

 and found that the CFTC had made out a prima facie case for each of the counts on

 which it sought a preliminary injunction. 1 (See ECF No. 134.) As relevant here, the

 Court found that the CFTC made a prima facie showing that the transactions that

 customers entered on Traders Global’s trading platform were leveraged retail forex


 1
     The CFTC did not seek a preliminary injunction on Count IV.
                                           2
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 9 of 48 PageID: 4245




 and commodity transactions. (Id. at 15 (recognizing that “The environment may

 have been simulated, but the trading was real”).) It also found that the CFTC made

 a prima facie showing that Traders Global acted as counterparty to leveraged forex

 transactions with its retail customers, and thereby acted as an unregistered RFED.

 (Id. at 14–16.) It further found that the CFTC made a prima facie showing that

 Traders Global engaged in impermissible off-exchange leveraged retail commodity

 transactions with their customers. (Id. at 16.) And finally, the Court found that the

 CFTC made a prima facie showing that Defendants—through misrepresentations

 and omissions—committed fraud against their customers. (Id. at 18–21.)

       Notwithstanding the Court’s findings, Defendants now move to dismiss all of

 the claims for failure to state a claim. (Mem. ISO Mot. to Dismiss, ECF No. 186-1

 (hereinafter “Mot.”).) In so moving, Defendants rehash the same arguments they

 raised, and that the Court declined to credit, at the preliminary injunction stage. But

 they insist that the Court should reconsider them because, they claim, the Court

 misunderstood the nature of its business (for which they blame the CFTC).

       The evidentiary record, developed at a contested hearing for which

 Defendants had months to prepare, does not support Defendants’ position. The

 Court was apprised of the nature of the business and Defendants’ misstatements and

 omissions related to it. The law and alleged facts did not support Defendants’

 arguments then, and they do not support dismissal of the claims now. Instead,


                                           3
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 10 of 48 PageID: 4246




  Defendants’ central premise that drives most of their arguments—that the CFTC

  lacks jurisdiction because customers’ transactions were not “real” forex or

  commodity transactions—presents a fundamentally inaccurate picture of off-

  exchange leveraged forex and commodity transactions, how regulated RFEDs

  operate, and the provisions of the CEA and Regulations that govern them.

  II.   RELEVANT FACTUAL BACKGROUND
        As alleged in the Complaint, Defendant Kazmi is the CEO and sole

  shareholder of the entity Defendants Traders Global U.S. and Traders Global Canada

  (“Traders Global”) and has controlled and operated Traders Global as a common

  enterprise.   (Compl., ¶¶ 16-20, 111.) Since at least November 2021, Traders

  Global’s My Forex Funds business solicited members of the public to become

  “professional traders” with an enticing value proposition: sign up for a trading

  account and Traders Global will give you money to trade leveraged foreign exchange

  (“forex”) and commodity contracts against third-parties and will split the trading

  profits with you.   (Compl. ¶¶ 1–2.)     As alleged, the commodity transactions

  Defendants offered customers to trade included financially settled leveraged forex,

  precious metals, digital asset commodities, broad-based stock indices, and oil

  contracts—all contracts under the CFTC’s jurisdiction. (Compl. ¶¶ 20, 23, 24, 105.)

        There were some significant catches, however. First, as pled, to get this

  claimed profit-sharing opportunity, individuals had to pay Traders Global a


                                          4
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 11 of 48 PageID: 4247




  registration fee to open a trading account. (Compl. ¶¶ 22, 31–33.) Fees ranged from

  $49 to $4,900 depending on the type and size of the account the individual wanted.

  (Id. ¶¶ 32–33.) As to account size, the larger the size of the account, the larger the

  trades the individual could enter and thus, theoretically, the larger the profits. (Id. ¶

  33.) As to account type, some types required a customer to prove their trading

  capabilities by trading in a “demo” phase for a period of time before Traders Global

  would purportedly let them trade against third-parties using Traders Global’s money.

  (Id. ¶ 34.) If a customer wanted to skip this step, then they could choose a different

  account type that purportedly allowed them to immediately start executing trades

  against third-parties using Traders Global’s money. (Id. ¶¶ 29–30.)

        Second, and importantly, for all accounts, the customer had to keep the

  account’s balance above a certain amount (i.e. a “drawdown limit”) that Traders

  Global set. (Id. ¶ 34.) If the customer’s losses exceeded the drawdown limit—

  whether in the “demo” phase or “funded” phase—then Traders Global terminated

  the customer’s account. (Id. ¶¶ 37–38.) If a customer wanted to keep trading, then

  the customer had to pay another registration fee to re-start their account. (Id. ¶ 37.)

        On the myforexfunds.com website, Traders Global proclaimed to prospective

  customers that “Your success is our business” and that its goal was to foster a

  partnership with its customers, emphasizing that “we only make money if you make

  money” and “if you grow we grow.” (Id. ¶ 39.) Similarly, the website explained:


                                             5
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 12 of 48 PageID: 4248




           If you lose, we lose, so choose carefully the program that fits your
           FOREX and Prop Firm trading experience. We will do the rest when it
           comes to support and trading conditions to ensure your success when
           trading FOREX with a Prop Firm.

  (Id. ¶ 40.) Further, Defendant Kazmi told customers in a recorded video that the

  drawdown limits were meant “to force traders to get into that habit of locking in

  some of the profits.” (Id. ¶ 36.) He explained: “If you lose all that money,” then

  “it’s not only you that’s losing, it’s us as well right. Because we want to make you

  profitable so we can be profitable . . . .” (Id.)

           As alleged, Defendants’ value proposition and marketing proved highly

  enticing to retail customers.      During the relevant period, more than 135,000

  individuals paid Traders Global at least $310 million in fees for trading accounts.

  (Id. ¶¶ 2, 44.) Unfortunately for these customers, and as detailed with particularity

  in the Complaint, Defendants’ business was a fraud. Contrary to what Defendants

  claimed, customers were not getting an opportunity to trade leveraged forex and

  commodity contracts against third parties using Traders Global’s money. (Compare

  id. ¶¶ 21, 25 with id. ¶49.) Instead, unbeknownst to customers, even when a

  customer’s account was in the “funded” stage, their trades executed on a trading

  platform that Traders Global controlled and where there were no third-parties. (Id.

  ¶ 49.)

           The Complaint further alleges that Traders Global designed this trading

  platform to secretly handicap customers’ trades to reduce the likelihood that

                                              6
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 13 of 48 PageID: 4249




  customers’ trades executed profitably.        (Id. ¶ 48).   For example, Defendants

  configured specialized software to automatically “delay” the execution of customer

  orders for a specified period of time and thereby prevent customers from taking

  advantage of profitable arbitrage opportunities. (Id. ¶¶ 59–60.) Also with this

  software, Traders Global added parameters that imposed “slippage” on customer

  orders, which caused the customers’ order to execute at a different price than the

  best bid or offer displayed to the customer at the time they entered the order. (Id. ¶¶

  59, 61.) As charged, if a customer managed to still execute profitable trades, then

  Traders Global subjected that customer’s account to even longer delays and more

  slippage. (Id. ¶ 62.) To be clear, these devices were not designed to mimic some

  possible, random “real” market; they were deliberate devices to induce customer

  accounts into account termination and fee forfeiture.

        Further, Traders Global added a $3 commission fee to each trade. (Id. ¶¶ 27,

  55.) Because Traders Global told customers that their trades were being executed

  against third-party liquidity providers, Traders Global led them to believe that those

  commissions came from the third-party or an exchange. In reality, however, there

  was no third-party commission charge; it was merely Traders Global adding a charge

  to the customer’s trade to make each trade costlier and, therefore, less profitable and

  their account more susceptible to termination. (Id. ¶¶ 55–58.)




                                            7
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 14 of 48 PageID: 4250




        Finally, despite being handicapped, some small percentage of Traders Global

  customers managed to profitably trade opposite Traders Global in its controlled

  environment. (Id. ¶ 64.) Some actually cost Traders Global money—and their

  reward was even more special treatment to limit their ability to profit. For fewer

  than 100 customers, Traders Global actually “straight-through processed” (i.e.,

  “STP’d”) the trades to a third-party off-exchange foreign forex and commodities

  dealer. (Id. ¶¶ 64–65.) Yet, even there, Traders Global secretly used its specialized

  software to impose an additional “spread” on the prices that the customer saw. (Id.

  ¶¶ 70–71.) This spread caused the customers’ trade to execute at a worse price than

  Traders Global got from the third-party off-exchange dealer. (Id.)

        Why did Traders Global do all of this? Because, as alleged in the Complaint,

  contrary to what Traders Global’s told its customers, Traders Global’s interests were

  not aligned with its customers’ interests. Instead, Traders Global’s interests were

  directly adverse to its customers. This was so because if a customer managed to

  trade profitably at the funded stage, then customers were entitled to a payout. (Id.

  ¶¶ 21, 28–30, 49–50.) But, because there were no third-party liquidity parties, it was

  Traders Global who had to pay the customer. (Id. ¶¶ 3, 49–50, 72.) In other words,

  a customer’s profits were not a “profit split” with Traders Global like Traders Global

  led customers to believe. (Id. ¶¶ 3, 21, 28–30, 49–50) Instead, the customer’s profits

  were Traders Global’s losses. And Traders Global paid these losses using money


                                            8
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 15 of 48 PageID: 4251




  collected from customers’ registration fees. (Id.) Therefore, Traders Global did not

  want its customers to trade profitably, it wanted its customers to trade at a loss.

         But Traders Global did not just want the customer to trade at a loss to avoid

  paying out money to the customer. Traders Global also needed the customer to trade

  at a loss so that Traders Global could shut down the customers’ account for

  breaching the drawdown limit and retain the customer’s registration fees. (Id. ¶¶

  51–54.) In other words, Traders Global wanted its customers to sustain “massive”

  losses (id. ¶ 87) so that it could profit.

         Communications from a key Traders Global employee to Defendants’ third-

  party software advisor make clear that they wanted their customers to lose. (See Id.

  ¶¶ 76–92.) For example, this employee complained: “im pretty upset because we

  have so many accounts continuously trading and making huge amounts of money . .

  . . [W]e have record losses but we aren’t picking out those accounts that dont lose[.]”

  (Id. ¶ 83.) Another day, the employee wrote to the advisor: “our traders are getting

  slaughtered today[.]” (Id. ¶ 86.) When the Advisor asked, “[L]ike overall?,” “Or a

  ton getting shutoff from downdraws?”, the employee responded “[B]oth i think.”

  (Id.) “[N]ice,” replied the Advisor. (Id.)

         In all, the Complaint’s allegations paint a clear picture and viable causes of

  action: Traders Global’s value proposition to its customers was a lie. It sold to

  individuals the false dream that they could become “professional traders” in


                                               9
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 16 of 48 PageID: 4252




  partnership with Traders Global. But the customers’ success was not Traders

  Global’s business, as customers believed. In truth, the customers’ failure was

  Traders Global’s business. And the success of that business required that Traders

  Global take in more in customer fees than it had to pay out to customers who

  managed to trade profitably. To assure this success, Traders Global configured its

  trading platform to secretly stack the deck against the customers. This is fraud, and

  Traders Global and Defendant Kazmi profited well from it. As alleged in the

  Complaint, during the relevant period, Traders Global took in approximately $310

  million from customers’ fees; paid out approximately $137 million mostly to

  customers as trading profits; and achieved a net income of $172 million. (Id. ¶ 72.)

  III.   ARGUMENT
         A. The Court Must Evaluate the Complaint in the Light Most Favorable
            to the CFTC
         On a motion to dismiss pursuant to Rule 12(b)(6), a federal court reviews the

  sufficiency of a complaint, and “[t]he issue is not whether a plaintiff will ultimately

  prevail but whether the claimant is entitled to offer evidence to support the claims.”

  Fenico v. City of Philadelphia, 70 F.4th 151, 161 (3d Cir. 2023) (quoting Maio v.

  Aetna, Inc., 221 F.3d 472, 482 (3d Cir. 2000)). Under Rule 8 of the Federal Rules

  of Civil Procedure’s “notice pleading” standard, a complaint must allege sufficient

  factual matter, accepted as true, to state a “plausible” claim for relief. Ashcroft v.

  Iqbal, 556 U.S. 662, 678 (2009). A claim is “plausible” so long as “the pleaded

                                            10
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 17 of 48 PageID: 4253




  factual content allows the court to draw the reasonable inference that the defendant

  is liable for the misconduct alleged.” Thompson v. Real Estate Mrtg. Network, 748

  F.3d 142, 147 (3d Cir. 2014) (quoting Iqbal, 556 U.S. at 678). Although a complaint

  must provide more than “a formulaic recitation of the elements of a cause of action,”

  Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007), it survives a Rule 12(b)(6)

  motion so long as it contains factual allegations “that raise a reasonable expectation

  that discovery will reveal evidence of the necessary element,” Thompson, 748 F.3d

  at 142 (quoting Fowler v. UPMC Shadyside, 578 F.3d 203, 213 (3d Cir. 2009)).

        Here, Counts I and II are “grounded in fraud” for which Rule 9(b)’s

  heightened pleading standard applies. See Shapiro v. UJB Fin. Corp., 964 F.2d 272,

  288 (3d Cir. 1992). Rule 9(b) requires the complaint to “state with particularity the

  circumstances constituting fraud or mistake,” although “[m]alice, intent, knowledge,

  and other conditions of a person’s mind may be alleged generally.” Fed. R. Civ. P.

  9(b). Courts interpret this to require the complaint to include “the essential factual

  background that would accompany ‘the first paragraph of a newspaper story’—that

  is, the ‘who, what, when, where and how’ of the events at issue.” Morano v. BMW

  of N. America, LLC, 928 F. Supp. 2d 826, 832 (D.N.J. 2013) (quoting In re Suprema

  Specialties, Inc. Sec. Litig., 438 F.3d 256, 276–77 (3d Cir. 2006)); see also SEC v.

  Gu, No. 21-17578, 2022 WL 2753478, at *3 (D.N.J. July 13, 2022) (same).




                                           11
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 18 of 48 PageID: 4254




        B. The Complaint Sufficiently Alleges That the Transactions Involved
           Were Leveraged Retail Forex and Commodity Transactions

        Defendants’ primary argument in support of dismissal is that the CEA and its

  Regulations do not reach their misconduct because there were no “real” commodity

  transactions involved. (Mot. at 17–38.) This argument is the lynchpin for virtually

  every argument that they make in support of dismissal. As set forth below, however,

  Defendants’ foundational argument evinces a fundamental misconception about

  what off-exchange leveraged forex and commodity transactions are, how regulated

  RFEDs operate, and the relevant CEA provisions and CFTC regulations that govern

  them. In addition, as also discussed, the Complaint’s factual allegations do not

  support Defendants’ position. A brief history of the CFTC’s jurisdiction over off-

  exchange leveraged commodity transactions proves useful and clarifies many of

  Defendants’ inaccurate assertions on the CEA’s history and the CFTC’s jurisdiction.

                  i. The Genesis of CFTC Jurisdiction over Off-Exchange
                     Leveraged Retail Forex and Commodity Transactions
                     Supports the Theory of the Complaint
        Here, the Complaint charges Defendants with operating a fraud in connection

  with leveraged retail foreign exchange transactions (Count I) and leveraged retail

  commodity transactions (Count II) in violation of Regulation 5.2(b)(1) and (3),

  17 C.F.R. § 5.2(b)(1), (3) (2023), and Section 4b(a)(2)(A) and (C) of the CEA,




                                          12
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 19 of 48 PageID: 4255




  7 U.S.C. § 6b(a)(2)(A), (C), respectively. 2 The Complaint also charges Defendants

  with operating an unregistered RFED (Count III) and impermissibly entering into

  and offering to enter into off-exchange leveraged commodity transactions with retail

  customers (Count V). Further, it charges Defendant Kazmi with acting as an

  unregistered RFED Associated Person (Count IV).

        Prior to 2008, and several years before the passage of the Dodd-Frank Wall

  Street Reform and Consumer Protection Act of 2010 (“Dodd-Frank Act”) and

  related amendments to 7 U.S.C. § 2(c)(2)(C) among others, a circuit split developed

  about the breadth of the CFTC’s jurisdiction over leveraged retail foreign exchange

  transactions that were executed off exchange (meaning, not executed on a board of

  trade registered and authorized by the CFTC). See, e.g., CFTC v. Paragon FX

  Enter., LLC, Nos. 11 Civ. 7740(FM), 11 Civ. 7741(FM), 2015 WL2250390, at *1–

  2 (S.D.N.Y. Feb. 2, 2015) (describing the regulatory and legal history of the CFTC’s

  jurisdiction over off-exchange leveraged retail commodity transactions). At times,

  the CFTC faced jurisdictional challenges when it pursued charges against

  individuals and entities who ran fraudulent “bucket shops.” CFTC v. Baragosh, 278

  F.3d 319, 323 (4th Cir. 2002) (internal citations omitted) (examining in detail the



  2
    This brief refers to statutory provisions by location in the U.S. Code, rather than
  by CEA section number. (For instance, 7 U.S.C. § 6b is the same as Section 4b of
  the CEA.) Should the Court require it, a conversion chart is located on the CFTC’s
  website at: https://www.cftc.gov/LawRegulation/ceaconvchart.html.
                                           13
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 20 of 48 PageID: 4256




  history of the CEA and the laws and regulations regarding bucket shops). “Bucket

  shop” describes “a business that allows customers to speculate on movements in

  commodity prices by” taking “the opposite side of a customer’s order rather than

  openly and competitively executing the order on an exchange.” Id.

        Some circuits, like the Fourth Circuit, found that the CEA’s anti-fraud

  provisions reached bucket shops offering any type of leveraged forex transaction to

  retail customers. See id. at 329. Yet, other circuits, like the Seventh Circuit, held

  that the CEA’s anti-fraud provisions did not reach alleged fraud involving off-

  exchange leveraged forex transactions if they were spot transactions. See CFTC v.

  Zelener, 373 F.3d 861, 866–69 (7th Cir. 2004), reh’g and reh’g en banc denied, 387

  F.3d 624 (7th Cir. 2004).

        Congress remedied this divide as part of the Dodd-Frank Act and the CFTC

  Reauthorization Act of 2008, when it clarified and expanded the CFTC’s

  jurisdictional authority with respect to off-exchange leveraged retail foreign

  exchange transactions. See 7 U.S.C. §§ 2(c)(2)(B)(v), 2(c)(2)(C)(ii)(III). Congress

  took these steps in part “[t]o remedy the large number of fraud cases where

  jurisdiction had been questioned” and to “allow the Commission to protect the public

  from fraud.” Regulation of Off-Exchange Retail Foreign Exchange Transactions

  and Intermediaries, 75 Fed. Reg. 3,282 (Jan. 20, 2010).




                                           14
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 21 of 48 PageID: 4257




        Pursuant to this authority, the CFTC added new, and amended existing,

  regulations, including those the Complaint alleges that Defendants violated. Among

  others, the Regulations created a new registrant category: Retail Foreign Exchange

  Dealers (“RFEDs”), which the Regulation defined as “any person that is, or that

  offers to be, the counterparty to a retail forex transaction.” 17 C.F.R. §§ 5.1(h)(1)

  and 5.3(a)(6)(i) (2023). In addition to requiring an RFED to register with the CFTC,

  the CFTC also added a new section of regulations for RFEDs to protect retail

  customers and promote the integrity of the forex markets. Such regulations include

  requirements related to disclosure, recordkeeping, financial reporting, minimal

  capital requirements, and operational standards. See 17 C.F.R. § 5 (2023).

        The CFTC also added anti-fraud provisions that specifically reach fraudulent

  conduct “in or connection with any retail forex transactions.” See 17 C.F.R. § 5.2(b)

  (2023). Further, it defined “retail commodity transaction” broadly to include not

  only a contract or transaction, but also an “account.” 17 C.F.R. § 5.1(m) (2023)

  (“Retail forex transaction means any account, agreement, contract or transaction

  described in section 2(c)(2)(B) or 2(c)(2)(C) of the Act.”). The CFTC added these

  regulations to account for “the essential differences between on-exchange

  transactions and retail forex transactions, and by the history of fraudulent practices

  in the retail forex transactions.”    Regulation of Off-Exchange Retail Foreign

  Exchange Transactions and Intermediaries, 75 Fed. Reg. 55,410 (Sept. 10, 2010).


                                           15
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 22 of 48 PageID: 4258




        Overall, through these regulations, the CFTC created a regulatory framework

  through which retail forex “bucket shops” could lawfully operate, yet still protect

  retail investors against the inherent risks associated with such operations and the

  opportunities for fraud they present. But, these regulations only permitted regulated

  off-exchange retail leveraged forex transactions. The CEA and CFTC Regulations

  otherwise continue to make it unlawful, with only a few exceptions not applicable

  here, for anyone to engage or offer to engage in off-exchange retail leveraged

  transactions in or in connection with other types of commodities. See 7 U.S.C.

  § 6(a). Further, aside from making such transactions impermissible, the CEA also

  gives the CFTC jurisdiction over fraud that a person may commit in connection with

  such impermissible transactions. See 7 U.S.C. §§ 6b(a)(2) (anti-fraud provision).

                 ii. Customers’ Transactions Were Forex and Commodity
                     Transactions as Defined by the CEA.
        To attack the CFTC’s jurisdiction over their alleged misconduct, Defendants

  first insist that their customers did not execute “real” forex or commodity

  transactions because their “customers did not make actual trades in a real market.”

  (Mot. at 11.) In the same vein, Defendants also insist the trades customers executed

  were not actual commodity transactions because the trading platform was a

  “simulated” environment, akin to a “computer game[].” 3 (Id.) In other words,


  3
   For this argument, Defendants rely, in part, on the deposition testimony of Matthew
  Chichester. The CFTC discusses use of that testimony in Section III.C, infra.

                                           16
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 23 of 48 PageID: 4259




  according to Defendants’ logic, the customers’ trades remained on an internal

  trading platform that Traders Global controlled, therefore the customers trades were

  not in a “real market” but were just fake trades in a “game.” Thus, Defendants posit,

  there were no commodity transactions involved so the CFTC lacks jurisdiction to

  reach their alleged fraud and misconduct.

        As demonstrated above, the CEA reaches these transactions, regardless of

  whether they were executed on an internal trading platform. Further, the CFTC

  Regulation’s disclosure requirements for RFEDs—which require, among other

  things, disclosure to customers about how an RFED functions—demonstrates that

  Defendants’ reference to a “real market” is legally and factually nonsensical.

  Defendants fundamentally misconstrue the nature of an off-exchange leveraged

  commodity transaction. Namely, Regulation 5.5(b)(2), 17 C.F.R. § 5.5(b)(2) (2023),

  requires an RFED to disclose to its customers that:

        AN ELECTRONIC TRADING PLATFORM FOR RETAIL
        FOREIGN CURRENCY TRANSACTIONS IS NOT AN
        EXCHANGE. IT IS AN ELECTRONIC CONNECTION FOR
        ACCESSING YOUR DEALER. THE TERMS OF AVAILABILITY
        OF SUCH A PLATFORM ARE GOVERNED ONLY BY YOUR
        CONTRACT WITH YOUR DEALER.

        Any trading platform that you may use to enter off-exchange
        foreign currency transactions is only connected to your futures
        commission merchant or retail foreign exchange dealer. You are
        accessing that trading platform only to transact with your dealer. You
        are not trading with any other entities or customers of the dealer
        by accessing such platform. The availability and operation of any such
        platform, including the consequences of the unavailability of the

                                           17
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 24 of 48 PageID: 4260




        trading platform for any reason, is governed only by the terms of your
        account agreement with the dealer.

  (emphasis supplied). 4 Further, Regulation 5.5(b)(4), 17 C.F.R. § 5.5(b)(4) (2023),

  also requires an RFED to disclose, in relevant part, that:

        YOU ARE LIMITED TO YOUR DEALER TO OFFSET OR
        LIQUIDATE ANY TRADING POSITIONS SINCE THE
        TRANSACTIONS ARE NOT MADE ON AN EXCHANGE OR
        MARKET, AND YOUR DEALER MAY SET ITS OWN PRICES.
           Your ability to close your transactions or offset positions is limited
        to what your dealer will offer to you, as there is no other market for
        these transactions.

  (emphasis supplied.)
        These disclosure requirements show that, just like Defendants’ trading

  platform, a properly regulated RFED’s trading platform is controlled by the RFED

  even if it is not connected to some broader market. That does not make such a trading

  platform just a “game”, however. Nor does it mean that the trades executed on the

  platform are not real commodity transactions. Instead, it simply means that an

  RFED, by definition, operates its own off-exchange foreign exchange market in

  which the only participants are the RFED on one side, and its customers on the other

  side. This is exactly how Defendants actually structured their transactions with their


  4
    On a motion to dismiss, the Court may take judicial notice of the CFTC
  Regulation’s disclosure requirements to evaluate the plausibility of the CFTC’s
  claims against Defendants because those Regulations are a matter of public record.
  See Schmidt v. Skolas, 770 F.3d 241, 249 (3d Cir. 2014) (holding that on a motion
  to dismiss a court may consider “the allegations contained in the complaint, exhibits
  attached to the complaint and matters of public record.”).
                                           18
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 25 of 48 PageID: 4261




  customers. Accordingly, Defendants’ baseline premise of a “real market”—i.e., that

  a trading platform needs to be connected to a broader market for the trades on it to

  qualify as commodity transactions—is unsupportable.

        To further their argument, Defendants also try to draw a distinction between

  the customer orders that remained on Defendants internal trading platform compared

  to the few customer orders that Defendants “STP’d” to a third-party dealer (i.e., the

  “A-Book” orders). (Mot. at 19.) Defendants suggest that only the STP’d orders

  qualified as real leveraged commodity transactions.5 Again, Defendants’ argument

  rests on the false premise that a leveraged commodity transaction must execute on

  some broader market for it to qualify as a “real” commodity transaction, and is

  inconsistent with the allegations in the Complaint.

        Further, National Futures Association (NFA) rules for RFEDs confirm that

  registered RFEDs operate just like Defendants did by sometimes straight-through

  processing transactions. 6    Specifically, NFA rules define “straight-through



  5
    Elsewhere, they also insist that, for these STP’d orders, the only parties to any
  transaction were Defendants and the third-party dealer. (Mot. at 26–27.) The CFTC
  addresses this argument in footnote 9, infra.
  6
    NFA is a statutorily-authorized futures association registered with the CFTC
  pursuant to 7 U.S.C. § 21, and serves as an industry self-regulatory organization for
  the U.S. derivatives industry, with membership that includes RFEDs under the
  category “forex dealer members.” (See, e.g., NFA Manual Compliance Interpretive
  Notice 9053; CFTC Staff Letter 04-03 [Re: National Futures Association Forex
  Rules], 2003 WL 27291721 (Dec. 23, 2003).). The Court may take judicial notice

                                           19
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 26 of 48 PageID: 4262




  processing” as “when a Forex Dealer Member [RFED] automatically executes

  (without human intervention and without exception) an offsetting position to a

  customer order with another counterparty prior to providing an execution to the

  customer order.” NFA Rule 2-36(s)(5) (Requirements for Forex Transactions).7

  NFA rules also require that an RFED make different disclosures to customers

  depending on whether the RFED uses straight-through processing for a transaction

  or internalizes the transaction on its platform. See id. at Rule 2-36(p)(1)(ii) & (ii).

        Simply put, these NFA rules reflect that registered RFEDs operate just like

  Defendants operated, even with respect to STP’d transactions. This is because, as

  the Complaint alleges, Defendants operated an unregistered RFED.

                 iii. Defendants’ Trading Platform Did Not Function As a
                      “Paper-Trading” Educational Tool.
        Next, Defendants attempt to analogize their trading platform to a “paper-

  trading” educational tool that merely provided customers “a risk-free way to hone

  your trading skills” where one “can’t make or lose any money.” (Mot. at 17 & n.3).8



  of NFA rules to determine whether the Complaint asserts plausible claims against
  Defendants because they are in the public record. See Schmidt, 770 F.3d at 249.
  7
   available online at https://www.nfa.futures.org/rulebooksql/rules.aspx?Section=4
  &RuleID=RULE%202-36
  8
   In explaining what “paper-trading” is, Defendants rely upon materials outside the
  four-corners of the Complaint. (See Mot. at 17–18 n.3.) They do not explain how a
  Court may properly consider these materials on a motion to dismiss pursuant to Rule
  12(b)(6). Regardless, as the CFTC explains here, the Complaint alleges plausible

                                            20
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 27 of 48 PageID: 4263




  Elsewhere, they also insist that their customers “bore no risk of loss” associated with

  the trades they executed. (Mot. at 25 n.8.) The Complaint’s factual allegations belie

  Defendants’ analogy, however.

        Nothing about Defendants’ trading platform was “risk-free.” Instead, as

  alleged, at all points, customers’ ability to continue trading on the platform depended

  upon the profits and losses from the trades that they executed. This was so because

  if a customer’s trading losses caused their account to breach the drawdown limit,

  then Traders Global terminated the customer’s account. (Compl. ¶¶ 22, 34–38.) If

  the customer wanted to continue trading, then he or she had to pay another fee to re-

  open the account. (Id. ¶ 37.) This was true even at the “demo” phase for those

  account types that had such a phase. (Id. ¶ 38.) And, at the funded stage, if a

  customer managed to trade profitably, then the amount Traders Global paid them

  was based on the profitability of those trades. (Id. ¶¶ 28–30, 50.) Overall, the

  customers’ trades determined the profits and losses in their account and, in turn,

  those profits and losses determined whether Defendants paid them or whether

  Defendants terminated their account and kept their registration fee. None of these

  attributes suggest a “risk free” educational tool where one “can’t make or lose any

  money.”



  facts to support that Defendants’ myforexfunds.com did not operate as a “paper-
  trading” educational tool.
                                            21
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 28 of 48 PageID: 4264




        C. Defendants Were The Counterparty to Their Customers’ Trades

        As outlined above, Count III charges Defendants with acting as an

  unregistered RFED in violation of Regulation 5.3(a)(6)(i); Count IV charges

  Defendant Kazmi with acting as an unregistered RFED AP in violation of Section

  2(c)(2)(C)(iii)(I)(aa) and Regulation 5.3(a)(6)(ii); and Count V charges Defendants

  with having entered into, executed, and confirmed the execution of off-exchange

  commodity transactions in violation of 7 U.S.C.§ 6(a). (Compl. Counts III, IV, V.)

  CFTC regulations define an RFED as “any person that is, or that offers to be, the

  counterparty to a retail forex transaction.” 17 C.F.R. § 5.1(h)(1) (2023).

        Defendants argue that, despite the clear allegations that Traders Global—not

  a third-party “liquidity provider”—was the counterparty to leveraged retail forex or

  commodity transactions with customers (see, e.g. Compl. ¶ 3), each of these counts

  fail because Traders Global was not in fact a counterparty. In support, Defendants

  first rely on their incorrect view of a “real commodity transaction”, arguing that they

  could not have been a counterparty to a forex or commodity transaction because the

  transactions were not real forex or commodity transactions. (Mot. at 30–31.) As

  discussed above, this position lacks legal or factual support.

        Second, they point to the deposition testimony of Matthew Chichester, who is

  an employee of the third-party advisor that Traders Global used to help configure its

  trading platform. (Mot. at 11–12, 31–36.) Defendants excerpt portions of Mr.


                                            22
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 29 of 48 PageID: 4265




  Chichester’s testimony not contained in the Complaint, in which he testified that

  customers’ orders remained on Traders Global’s internalized trading system. (Id. at

  31–32.) Then, they point to an excerpt in which the CFTC asked Mr. Chichester if

  Traders Global took “the opposite position” of the customers’ trades, to which he

  responded “I would say that would be true if it was the customer’s own money that

  they had deposited.”     (Id. at 32.)   They insist that this deposition testimony

  establishes, as a matter of law, that Defendants were not the counterparties to their

  customers’ trades and, therefore, that Counts III, IV and V fail.

        Defendants’ reliance on Mr. Chichester’s testimony is improper.           As a

  preliminary matter, on a motion to dismiss pursuant to Rule 12(b)(6), a court

  generally only examines “the allegations contained in the complaint, exhibits

  attached to the complaint and matters of public record.” Schmidt v. Skolas, 770 F.3d

  241, 249 (3d Cir. 2014). The Third Circuit has held that “[u]nder the Rule 12(b)(6)

  standard, courts [] may consider deposition testimony, but only for the existence of

  the testimony—not for the truth of the facts asserted therein.” Logan v. Bd. of Ed.

  of Sch. Dist. of Pittsburgh, 742 F. App’x 628, 632 (3d Cir. 2018) (citations omitted).

        Regardless, Mr. Chichester’s deposition comments about Traders Global’s

  counterparty status are merely lay opinions. They certainly do not determine, as a

  matter of law, Traders Global’s counterparty status. And, even if it were to be

  considered, Mr. Chichester’s opinions do not support Defendants’ proposition. As


                                           23
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 30 of 48 PageID: 4266




  Defendants acknowledge in a footnote, in this portion of Mr. Chichester’s testimony,

  he was primarily explaining that most of the customers’ transactions at the funded

  stage (i.e. B-book) did “not go to a counterparty.” (Mot. at 33 n. 11.) In other words,

  he was explaining that the transactions did not go out to a third-party liquidity

  provider as Traders Global falsely told their customers. That does not mean there

  was no counterparty at all. To the contrary, as Defendants also acknowledge in this

  footnote, Mr. Chichester stated that “I guess you would consider Traders Global the

  counterparty, like taking the other side of [the transaction],” but that he believed the

  term was “a little murky.” (Id.) In all, Mr. Chichester’s lay opinion on Traders

  Global’s counterparty-status, whatever it may be, should not and does not establish

  as a matter of law whether Traders Global was a counterparty to its customers’

  transactions. His opinions are not a basis to dismiss any of the claims.

        In essence, Defendants seek to use their interpretation of Mr. Chichester’s

  testimony as a vehicle to repackage their same two arguments that: (1) these were

  not “real” forex and commodity transactions (Mot. at 35 (“no actual trading was

  occurring”)); and (2) customers were not parties to any transaction because they

  purportedly faced “no risk of liability for any trading losses,” (id.). As explained

  above, however, the Regulations and Rules, as well as the Complaint’s factual

  allegations, do not support these arguments.




                                            24
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 31 of 48 PageID: 4267




        To re-summarize the well-pleaded facts: when a customer traded profitably,

  Traders Global paid the customer out of Traders Global’s own assets. When the

  customer lost and violated the drawdown limit, Traders Global terminated the

  customer’s trading account and kept the customer’s fee. Defendants’ interests and

  the customers’ interests were adverse, not aligned like Defendants told customers.

  Defendants also controlled the trading platform on which customers executed orders,

  setting the spreads, introducing secret slippage and delays, and charging

  commissions to customer’s transactions. 9 Those are the actions and characteristics

  of a counterparty. Those are the actions and characteristics of an RFED.

        D. The Complaint Plausibly Alleges the “In Connection” Element of
           Count I and II’s Fraud Claims

        Relying on this same mischaracterization of governing law, Defendants also

  argue that the Complaint fails to allege the “in connection” element of Count I and


  9
    As relevant to whether customers were parties to “funded” stage transactions,
  Defendants try distinguish between internalized transactions (i.e., B-Booked), and
  the few that Defendants STP’d to a third-party. They argue that the STP’d
  transactions were “real” commodity transactions, but cannot form the basis for the
  claims because only Defendants and the third-party were parties to the transactions.
  (Mot. at 26–27.) This argument misses the mark. As the Complaint alleges and
  Defendants’ acknowledge, the STP’d transactions were customer-transactions that
  Traders Global “mirrored” with a third-party dealer. (Mot. at 26.) But the pricing
  and execution that the customer received for those trades were not what Defendants
  received from the third-party. (Compl. ¶ 70.) Thus, the STP process resulted in two
  commodity transactions: one between the customer and Defendants; and a
  “mirrored” one between Defendants and the third-party. The alleged fraud was in
  connection with the commodity transactions between the customer and Defendants.
  The customers had no interface with the mirrored transactions.
                                          25
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 32 of 48 PageID: 4268




  II’s fraud claims since the customers’ trades were not “regulated” (i.e. executed on

  a registered exchange subject to CFTC regulatory oversight). (Mot. at 21–24.)

  Defendants cite myriad cases mostly involving other statutes to support their claim

  that the alleged fraud must be “in connection” with “real” and “regulated”

  commodity transactions to which the claimed victims were parties. (Mot. at 20–24.)

  For example, they discuss Chadbourne & Parke LLP v. Troice, 571 U.S. 377 (2014).

  (Mot. at 23–34.) There, the Supreme Court considered whether private litigants’

  state-law class action involved misrepresentations or omissions of material fact “in

  connection with the purchase or sale of a covered security.” Id. A central issue was

  whether the fraud was in connection with a “covered security” or an “uncovered

  security.” The Court held that, even though the misrepresentations were about

  covered securities, those misrepresentations only impacted the victims’ decision to

  purchase uncovered securities. Id. at 395. Defendants also rely upon Tatum v. Legg

  Mason Wood Walker, Inc., 83 F.3d 121 (5th Cir. 1996), (Mot. at 21), in which a

  defendant covered his commodity trading losses from his unauthorized by secretly

  liquidating plaintiff’s securities investments. Tatum, 83 F.3d at 122–23. The court

  held that the fraud did not meet the “in connection” requirement because the plaintiff

  had no knowledge of the commodity trades. As another example, Defendants cite

  Crummere v. Smith Barney, which dismissed a private litigant’s securities claims




                                           26
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 33 of 48 PageID: 4269




  where “the alleged misstatements occurred after the unremarkable sale of

  [plaintiff’s] bonds.” 624 F. Supp. 751, 755 (S.D.N.Y. 1985).

        Defendants’ reliance on these cases remains premised on their erroneous

  underlying position that Traders Global’s business did not involve real forex or

  commodity transactions to which the customers were a party. (See Mot. at 21–28.)

  As set forth above, the Complaint plausibly alleges the existence of real off-

  exchange forex and commodity transactions to which customers were a party. And,

  distinguishing Tatum in particular, Defendants’ customers certainly believed they

  would be entering into forex and commodity transactions. Therefore, those cases do

  not support dismissal of the fraud charges here.

        In addition, contrary to Defendants’ argument, the fraud reached all of the

  customers regardless of what type of account they chose or whether they ever made

  it past the “demo” phase.        Regulation 5.2(b) covers leveraged retail forex

  transactions, and defines “retail forex transaction” to include not only individual

  contracts and transactions, but “accounts.” 17 C.F.R. § 5.1(m) (2023). Similarly,

  Section 2(c)(2)(C)(vii) specifies that “[t]his Act applies to, and the Commission shall

  have jurisdiction over an account . . . that is offered for the purpose of trading, or

  that trades,” forex agreements, contracts, or transactions. 7 U.S.C. § 2(c)(2)(C)(vii)

  (emphasis supplied); (see also Compl. ¶ 105(c)). Here, Defendants’ entire value

  proposition to customers was they would get an account to trade leveraged retail


                                            27
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 34 of 48 PageID: 4270




  forex and commodity transactions against third-party liquidity providers. Thus, all

  of the accounts Defendants offered were for the purpose of trading leveraged forex

  and commodity transactions, even the account types with a “demo” phase.10

        What is more, Defendants also ignore the broad language of the relevant anti-

  fraud provisions that the CFTC charges. “By its terms, Section [6]b is not

  restricted…to instances of fraud or deceit ‘in’ orders to make or the making of

  contracts. Rather, Section [6]b encompasses conduct ‘in or in connection with’

  futures transactions. The plain meaning of such broad language cannot be ignored.”

  CFTC v. Vartuli, 228 F.3d 94, 101 (2d Cir. 2000) (quoting Saxe v. E.F. Hutton &

  Co., 789 F.2d 105, 110–11 (2d Cir. 1986)).

        The facts in Vartuli prove instructive. There, the CFTC charged a company

  and its sole shareholder with fraud under Section 4b of the CEA, 7 U.S.C. § 6b, for

  allegedly misrepresenting that software it sold would give purchasers in-the-moment

  profitable “buy” and “sell” futures trading instructions. 228 F.3d at 94. The district

  court entered judgment against the defendants, and defendants appealed, arguing that

  their fraudulent claims about the software was not “in connection” with futures

  transactions. Id. The Second Circuit affirmed the district court’s “in connection”

  finding. Id.at 102. It emphasized that the “expensive software [at issue] had no


  10
    Certainly, nothing remotely suggests that those customers would have decided to
  open an account merely to stay in the “demo” phase where they risked their
  registration fee but would not receive any payouts.
                                           28
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 35 of 48 PageID: 4271




  purpose except as a device for choosing which trades to make,” so fraud in the sale

  of that software was fraud “in connection with” commodities futures transactions.

  Id. (quoting R&W Tech. Servs. Ltd. v. CFTC, 205 F.3d 165, 172–73 (5th Cir. 2000)).

        Here, Defendants did not offer software that provided trading advice. But

  they offered accounts for the purpose and opportunity to trade leveraged forex and

  commodity transactions. Thus, just like the software in Vartuli that customers

  purchased to allow them to increase their profits from futures trading, Traders

  Global’s customers opened accounts to allow them the opportunity to trade

  leveraged forex and commodity transactions against third-party liquidity providers.

  Thus, all customers were defrauded “in connection” with offers of a commodity

  transaction even if they never managed to advance to the “funded” stage and,

  therefore, never found themselves unwittingly trading against Traders Global in an

  internal trading system that Traders Global controlled and manipulated.

        As another example, the Commission also brought an enforcement action

  against an entity that solicited members of the public to enroll in what was actually

  described as a training program to become proprietary traders of the entity. CFTC

  v. Regan, No. 11-cv-8679, 2012 WL 2308368, at *3 (N.D. Ill. May 29, 2012)

  (default judgment). There, clients paid fees to enroll in the program for instruction

  on how to become successful commodity futures and forex proprietary traders. Id.,

  at *4. The entity told clients that those who completed the program routinely


                                           29
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 36 of 48 PageID: 4272




  advanced to higher trading levels, and by doing so, received large profit

  distributions, id., but failed to disclose that no trader ever advanced or received

  payouts, id., at *5. The entity thereby engaged in fraud and was also liable for failing

  to register with the Commission as a commodity trading advisor. Id., at **6–7.

        Further, Defendants are asserting a version of a never-accepted legal argument

  that scammers cannot be held liable under the CEA if they do no commodity

  transactions.   The law is clear, however, that the CFTC may bring fraud or

  registration charges even if there was no actual trade in a commodity interest. See,

  e.g., CFTC v. JBW Capital, LLC, 812 F.3d 98, 109 (1st Cir. 2016) (noting that case

  law is settled on the broad interpretation of the “in connection with” language of the

  statute, and applying it to defendant’s misrepresentations he made during his

  solicitations, despite no actual transactions flowing from those solicitations) (citing

  Saxe, 789 F.2d at 110–11); CFTC v. Weinberg, 287 F. Supp. 2d 1100, 1106 (C.D.

  Cal. 2003) (Defendant violated Section 4b of the Act where “investor funds were

  given to [defendant] for use in completing various commodity transactions,” even

  though there was “no evidence of any trades or . . . trading account.”); CFTC v.

  Brockbank, No. 2:00-cv-622 TS, 2006 WL 223835, at *1, 4 (D. Utah. Jan. 30, 2006)

  (even where it was “undisputed that there was no actual commodities trading,” court

  rejected contention that CFTC does not have jurisdiction unless commodities were

  actually traded, “especially . . . where the CFTC brings claims . . . alleging violation


                                            30
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 37 of 48 PageID: 4273




  of Section 6b(a), which prohibits fraud in connection with commodity futures

  transactions by any person regardless of their status as CPOs.”); CFTC v. Clothier,

  788 F. Supp. 490, 492 (D. Kan. 1992) (rejecting defendant’s argument that the CEA

  requires actual commodities trading with investors’ funds because “to accept

  defendants’ argument . . . would remove such misappropriation from the statute.”).

  The same has been true for persons who misappropriated funds entrusted to them for

  trading forex—an actual forex transaction is not required. See, e.g., CFTC v.

  Capitalstreet Fin., LLC, No. 3:09-cv-387-RJC, 2012 WL 79758, at *3 (W.D.N.C.

  Jan. 11, 2012) (default judgment); CFTC v. Smith, No. 1:10CV9, 2012 WL 1642200,

  at **3, 9 (W.D. Va. Apr. 16, 2012) (defendants fraudulently solicited customers to

  trade forex, but opened no actual trading accounts); CFTC v. Ramirez, No. 4:19-cv-

  140, at **2, 9, 2019 WL 4198857 (S.D. Tex. July 12, 2019) (default judgment)

  (defendants never opened any forex accounts for trading pool); CFTC v. Choi, No.

  CV 18-3991-DMG, 2019 WL 1250576, at ** 1, 5 (C.D. Cal. Mar. 5, 2019)

  (defendant never opened actual trading accounts on behalf of clients). Overall, the

  Complaint alleges facts that plausibly satisfy the “in connection” requirement.

        E. The CFTC has Adequately Pled the Elements of its Fraud Claims

        Finally, Defendants argue that the Complaint failed to adequately plead the

  materiality and scienter elements of the Complaint’s fraud claims (Counts I & II) in




                                          31
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 38 of 48 PageID: 4274




  conformity to the particularity requirements of Rule 9(b).          (Mot. at 38–48.)

  Defendants are wrong.

               i. The CFTC Has Adequately Pled Materiality

        The Third Circuit, like other circuits, holds that “a statement is material if

  there is a substantial likelihood that a reasonable investor would consider it

  important in making an investment decision.” CFTC v. Rosenberg, 85 F. Supp. 2d

  424, 447 (D.N.J. 2000). In addition, “[m]ateriality is ordinarily an issue left to the

  factfinder and is therefore not typically a matter for Rule 12(b)(6) dismissal” unless

  “the alleged misrepresentations or omissions are so obviously unimportant.” In re

  Adams Golf, Inc. Sec. Litig., 381 F.3d 267, 274–75 (3d Cir. 2004).

        Here, it is virtually self-evident that a reasonable customer, when deciding

  whether to pay Traders Global to open an account, would find it material that Traders

  Global’s interests were actually adverse to theirs; that Traders Global’s success did

  not depend on the customer’s success, but instead depended on the customer’s

  failure; and that to encourage that failure Traders Global secretly applied parameters

  to their customer’s orders to make it harder for the customer to trade at a profit.

        In fact, the Court already found in its Opinion on the CFTC’s Motion for

  Preliminary Injunction that the CFTC established a prima facie case as to

  materiality. Specifically, the Court held that “[t]he record evidence supports that the

  misrepresentations and omissions are material because they go to the fundamental


                                            32
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 39 of 48 PageID: 4275




  nature of the relationship between Traders Global and its customers, and the nature

  of the trading offered to customers.” (Dkt. 134 at 19.) The Court elaborated that:

        In deciding whether to purchase one of Traders Global’s programs, a
        reasonable customer would likely find it important that Traders
        Global’s interests are actually adverse to customers on substantially all
        “live account” trades. Specifically, a reasonable customer would likely
        find it important that: (1) he or she would not be executing trades for
        Traders Global but, instead, Traders Global is the counterparty; (2)
        Traders Global actually lost money when the customer made money;
        and (3) any purported “profits” Traders Global promised to pay a
        customer for successful trading actually came from fees that other
        customers paid Traders Global. [...]
        Similarly, and particularly given that their interests were adverse, a
        reasonable customer would likely find it important that Traders Global
        controlled the environment in which the customer executed trades,
        setting the bid-ask spread, and imposing delay and slippage, as well as
        commissions, on customers’ trades.
  (Id. at 19-20.) The Court’s opinion was and remains informed and correct.

        Yet, looking beyond this, the Regulations and Rules that govern RFEDs and

  provide safeguards for customers in the forex markets also show these

  misrepresentations and omissions were material. As discussed above, the CFTC

  Regulations require RFEDs to disclose to their customers that: (1) the RFED’s

  interest are adverse to the customers; and (2) the customers’ transactions are

  executed in an electronic environment the RFED controls and which is not connected

  to a broader market. 17 C.F.R. §§ 5.5(b)(2), (4). (2023). The CFTC’s Regulations

  also require, for example, that RFEDs “[f]airly and objectively establish settlement



                                           33
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 40 of 48 PageID: 4276




  prices for retail forex transactions.” 17 C.F.R. § 5.18(b)(3) (2023). Further, the

  Regulations require that RFEDs make available to customers information on:

        Any method or algorithm used to determine the bid or asked price for
        any retail forex transaction or the prices at which customer orders are
        executed, including but not limited to any markups, fees, commissions
        or other items which affect the profitability or risk of loss of a retail
        forex customer’s transaction.

  17 C.F.R. § 5.18(b)(4)(iv) (2023).      These requirements each cover the same

  important topics about which Defendants made misstatements or omissions.

        Similarly, as discussed above, NFA Rules require RFEDs to make disclosures

  regarding STP’d transactions. NFA Rule 2-36(p). In particular, they require that, if

  an RFED uses STP for a customer’s transaction, then the RFED must disclose “any

  mark-up or mark-down the [RFED] imposes on the price the [RFED] received from

  the offsetting position to the customer’s order.” NFA Rule 2-36(p)(1)(ii). If the

  RFED does not use STP for a customer transaction, then it must disclose to the

  customer the transaction’s mid-point spread cost. NFA Rule 2-36(p)(1)(iii). In

  addition, NFA Rules also include restrictions and disclosure requirements that

  RFEDs must follow related to price adjustments. NFA Rule 2-43 (Forex Orders).

        These disclosure requirements all relate to the same types of facts that

  Defendants misrepresented to their customers or failed to disclose, and these

  regulations and rules serve “to protect all market participants from fraudulent or

  other abusive sales practices and misuses of customer assets.” See, e.g. CFTC v.


                                           34
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 41 of 48 PageID: 4277




  Monex Credit Co., 931 F.3d 966, 970 (9th Cir. 2019) (rejecting assertion that the

  structure of defendants’ retail commodity transactions immunized them from the

  regulations and reversing dismissal of complaint for failure to state a claim). The

  fact that the Regulations and Rules governing RFEDs require such disclosures

  provides overwhelming support that such disclosures are, in fact, material.

        Nonetheless, Defendants insist that a reasonable customer would not find any

  of Defendants’ misstatements or omissions material.11 They also suggest that the

  CFTC’s Complaint necessarily fails to plausibly allege materiality because the

  CFTC did not interview customers as part of its investigation. (Mot. at 31.)

        Although Defendants attempt to cast aspersions on the CFTC’s investigation,

  that does not make their own misstatements and omissions to customers any less

  material. A court considers materiality based on an objective “reasonable customer”

  standard, which does not depend on the subjective beliefs of a particular customer.

  United States v. Litvak, 889 F.3d 56, 65 (2d Cir. 2018) (discussing in detail the

  “reasonable customer” standard for security fraud); see also CFTC v.

  WorldWideMarkets, Ltd., 2022 WL 3535993 at *13 (D.N.J. Aug. 18, 2022). Nor


  11
    Defendants also argue that none of their misstatements or omissions could be
  material to customers who never advanced past the “demo” phase. (Mot. at 40.) But,
  Defendants made their misstatements and omission in soliciting potential customers.
  Thus, these misstatements and omissions would have been material to a reasonable
  potential customer’s decision to give Defendants money for an account in the first
  place; and also whether to pay to re-start an account if they breached a drawdown
  limit.
                                          35
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 42 of 48 PageID: 4278




  does the law require that a government agency, like the CFTC, prove reliance. See

  Rosenberg, 85 F. Supp. 2d at 446 (noting that “customer reliance on material

  misrepresentations need not be proven in an enforcement action alleging fraud.”).

  Therefore, the Complaint sufficiently alleges material misrepresentations and

  omissions even if it does not include testimonials from individual customers.

        Next, with respect to the alleged omissions, Defendants argue that the

  Complaint fails to plausibly establish a duty to disclose. This is wrong as a matter

  of fact and law. Section 4b(b) of the CEA states, with respect to omissions, that a

  person has a duty to disclose where “necessary to make any statement made to the

  other person in or in connection with the transaction not misleading in any material

  respect.” 7 U.S.C. § 6b(b). Cf. CFTC v. Arista LLC, No. 12 CV 9043 PAE, 2013

  WL 6978529, at *13 (S.D.N.Y. Dec. 3, 2013) (holding that Defendants “omitted to

  state in such statements material facts that were necessary to make statements of

  material facts made not misleading in any material respect, and Defendants knew,

  or reasonably should have known, the statements to be false or misleading”) (consent

  order resolving charges under Section 6(c)(2) of the CEA, 7 U.S.C. § 9(c)(2)).

        The omissions the Complaint alleges are precisely the type of information

  Defendants needed to disclose to make their other statements not misleading.

  Defendants failed to disclose that they both fully controlled the trading environment

  and had interests and incentives that were directly adverse to those of the customers


                                           36
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 43 of 48 PageID: 4279




  who were trading at Defendants’ mercy. Further, the fact that slippage, delay and

  spreads exist in all markets, does not mean that it is not material what slippage, delay

  or spreads an order may face. In fact, the amounts of slippage, delay and spreads

  are essential factors that traders consider because they impact how a trade executes.

        The cases Defendants cite are in accord. CFTC v. Gorman, No. 21 civ. 870

  (VM), 2023 WL 2632111, at *8–9 (S.D.N.Y. Mar. 24, 2023) was a market

  manipulation case brought under Regulation 180.1 (not the charge at issue here),

  where the court held that Defendant had no duty to disclose his own trading activity

  to “other market participants” in the markets he allegedly manipulated. The court

  nevertheless reinforced that “[t]he rule gleaned from the case law is that a duty to

  disclose based on underlying misconduct arises where the fraudster has either (1)

  some fiduciary or other relationship with the investor; or (2) once the accused has

  spoken on the issue or topic and thus must tell the whole truth.” Gorman, 2023 WL

  2632111, at *13. Here, as alleged, Defendants spoke extensively about the trading

  opportunity they purportedly offered, but did not “tell the whole truth.” Instead, they

  told half-truths and lies. Thus, Gorman supports the CFTC’s position in this case.

        Next, in In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1433 (3d

  Cir. 1997), the Third Circuit held that a company did not have a duty to update its

  prior forward-looking projection beyond what was called for by the securities

  reporting requirements, because “under the existing disclosure apparatus, the


                                            37
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 44 of 48 PageID: 4280




  voluntary disclosure of an ordinary earnings forecast does not trigger any duty to

  update.” Burlington, 114 F.3d at 1433. In so holding, the court contrasted this

  ordinary projection with a scenario where “the initial disclosures that were argued

  to have triggered the duty to update involved information about events that could

  fundamentally change the natures of the companies involved.” id. (emphasis in

  original). The omissions at issue here are more like the latter scenario considered in

  Burlington, where the omitted information, if disclosed, would have revealed a

  fundamental difference between the nature of Defendants’ business as they

  represented it with the nature of how it actually operated.

        Finally, Defendants are also wrong that they had no disclosure duties to their

  customers. Because Defendants operated an unregistered RFED, the regulatory

  requirements applicable to an RFED also apply to Defendants. In other words,

  because, as alleged, Defendants ought to be registered, they likewise had a duty to

  make disclosures like those outlined above. See, e.g., CFTC v. Tallinex, No. 2:17-

  CV-00483-DN, 2018 WL 3350347, at *3 (D. Utah July 9, 2018) (“By acting as an

  RFED, Tallinex had a duty to disclose this information under Regulation 5.5 in order

  to give a balanced and realistic view of the results of trading its forex contracts.”)

  (default judgment order); CFTC v. Sw. Servs., L.L.C., No. 1:20-CV-1440-WCG,

  2020 WL 8812868, at *3, *6 (E.D. Wis. Dec. 17, 2020) (holding, in a default

  judgment order, that an unregistered RFED violated Regulations 5.5 and 5.13).


                                           38
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 45 of 48 PageID: 4281




               ii. The CFTC Has Adequately Pled Scienter

        Finally, Defendants also argue that the Complaint fails to adequately allege

  Defendants acted with scienter. Not so. Systematic schemes such as the one the

  CFTC’s Complaint alleges that Defendants operated, by their very nature, are not

  mistakes or oversights. They are deliberate actions, carried out with intent.

        The CFTC’s complaint alleges scienter with specificity, laying out the

  falsehoods that Defendant Kazmi knew of and precisely how he knew them,

  including from agreements that he executed (Compl. ¶¶ 97, 98) specific

  conversations he had with his employees (id. ¶ 99) and regular email updates that he

  received (id. ¶ 100), which are imputed to all Defendants as a matter of law (e.g. id.

  at ¶¶ 10-11; ECF No. 134 at 21 (“as the sole executive of Traders Global, Defendant

  Kazmi’s scienter may be imputed to the corporate Defendants”)).

        In addition, the Complaint details communications that Defendants’ key

  employee had in which he repeatedly acknowledged that they sought to find behind-

  the-scene ways to hamper customers’ trading successes. (See, e.g., Compl. ¶ 80

  (lamenting of customer’s successful trading: “if the strategy works for a month, we

  will lose more than a million dollars,”); id. ¶ 83 (complaining that a customer “got

  like 100k of pending to withdraw . . . so i need something to stop the money going

  out.”).) The Complaint also quotes a communication in which this employee

  explained how they should disadvantage customers: “I think we need another profile


                                           39
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 46 of 48 PageID: 4282




  just for these accounts. and just slip them to hell.” (Id. ¶ 89). Similarly, the

  Complaint includes communications in which this key employee celebrated the

  customers’ losses, writing: “we violated more accounts than made today. So

  hopefully the net is massive loss.” (Id. ¶ 87.) This is more than sufficient to plead

  scienter, especially given that Rule 9(b) makes clear that “conditions of a person’s

  mind may be alleged generally.” Fed. R. Civ. P. 9(b)

        Finally, Defendants claims that the CFTC misrepresented the purpose of the

  trading conditions, and insist that there were innocuous reasons for the imposition

  of those conditions. The facts as alleged belie that argument, however, and instead

  show an egregious secret scheme to rig the system against customers. In any case,

  at the motion to dismiss stage, inferences should be drawn in the CFTC’s favor not

  against it. See Lutz v. Portfolio Recovery Assocs., LLC, 49 F.4th 323, 328 (3d Cir.

  2022) (evaluating allegations on a motion to dismiss by “assuming their veracity,

  construing them in the light most favorable to the plaintiff, and drawing all

  reasonable inferences in the plaintiff's favor.”).

  IV.   CONCLUSION
        For the reasons set forth above, the Court should DENY Defendants’ motion

  to dismiss the Complaint in its entirety. To the extent the Court grants the motion,

  the CFTC requests leave to file an amended complaint.




                                             40
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 47 of 48 PageID: 4283




   May 10, 2024                          Respectfully Submitted,

                                         s/   Katherine S. Paulson

                                         Nina Ruvinsky
                                         Katherine S. Paulson
                                         Elizabeth N. Pendleton

                                         Commodity Futures Trading
                                         Commission
                                         Division of Enforcement
                                         Ralph Metcalfe Federal Building
                                         77 West Jackson Blvd., Ste 800
                                         Chicago, IL 60604
                                         (312) 596-0675
                                         nruvinsky@cftc.gov
                                         kpaulson@cftc.gov
                                         ependleton@cftc.gov

                                         Counsel for Plaintiff Commodity
                                         Futures Trading Commission




                                       41
Case 1:23-cv-11808-ESK-EAP Document 193 Filed 05/10/24 Page 48 of 48 PageID: 4284




                          CERTIFICATE OF SERVICE

        I certify that Plaintiff CFTC’s Opposition to Defendants’ Motion to Dismiss
  the Complaint was served on all counsel of record through the Court’s CM/ECF
  system.

  May 10, 2024                               /s/ Katherine S. Paulson
                                             Katherine S. Paulson
